







		NO. 12-08-00327-CR



IN THE COURT OF APPEALS



TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS




DEMETRIO LEZANDRO SELMAN,§
	APPEAL FROM THE 

APPELLANT


V.§
	COUNTY COURT AT LAW OF


THE STATE OF TEXAS,

APPELLEE§
	NACOGDOCHES COUNTY, TEXAS






MEMORANDUM OPINION


	Appellant attempts to appeal his conviction for hazing.  See Tex. Educ. Code Ann. § 37.152
(Vernon 2006).  However, the trial court's certification states that "the defendant has waived the
right to appeal, as part of agreed punishment."  See Tex. R. App. P. 25.2(a)(2), (d).  The certification
is signed by the trial court, Appellant, and his counsel.

	A defendant in a noncapital case may waive any rights secured him by law.  Tex. Code
Crim. Proc. Ann. art. 1.14 (Vernon 2005).  A defendant who bargains for a sentencing
recommendation in exchange for his waiver of the right to appeal will be held to that bargain. 
Blanco v. State, 18 S.W.3d 218, 220 (Tex. Crim. App. 2000).  Even in the absence of a plea bargain
agreement, a waiver of the right to appeal that is freely and voluntarily made is binding upon the
appellant.  Monreal v. State, 99 S.W.3d 615, 622 (Tex. Crim. App.2003).  The trial court's
permission is required before a defendant may appeal after waiving his right to appeal.  Blanco, 18
S.W.3d at 220.

	In this case, Appellant and the State reached an agreement on punishment, which was
announced in open court and presented as "a new agreed offer."  The State's attorney informed the
trial court that as part of the agreement, Appellant waived his right to appeal.  The court then asked
Appellant and his counsel whether the plea agreement presented by the State's attorney correctly
stated their agreement, and both said that it did.  The trial court accepted the agreement, sentenced
Appellant in accordance with the agreement, and stated that "there will be no appeal.  That's
waived."  He then asked whether there was anything else from either party, to which neither
Appellant nor his attorney replied.  Nothing in the record indicates that the trial court has granted
Appellant permission to appeal.  Therefore, we conclude that the record supports the trial court's
certification.  See Greenwell v. Thirteenth Court of Appeals, 159 S.W.3d 645, 649 (Tex. Crim. App.
2005); Dears v. State, 154 S.W.3d 610, 614-15 (Tex. Crim. App. 2005).  Accordingly, the appeal
is dismissed for want of jurisdiction.



								     JAMES T. WORTHEN    

									     Chief Justice



Opinion delivered October 8, 2008.

Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.
















(DO NOT PUBLISH)


